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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )                    8:12CR311
                                            )
                             Plaintiff,     )
                                            )
vs.                                         )             ORDER TO RESTRICT
                                            )
JESSE W. RINAKER,                           )
                                            )
                             Defendant.     )                  Judge Bataillon



       This matter is before the Court on the Defendant’s motion to restrict access to unredacted

documents. The motion will be granted.

       IT IS SO ORDERED:

       1.     The Defendant’s motion to restrict access to unredacted documents is granted.

       2.     The Clerk’s Office shall scan and upload the documents to the System and restrict

              its access to the Court and counsel of record pursuant to the E-Government Act.

       DATED this 30th day of September, 2013.

                                            BY THE COURT:


                                            s/ Joseph F. Bataillon
                                            United States District Judge
